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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in compliance with D.N.J. LBR 9004-1(b)

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    In re:                                                              Chapter 11

    LTL MANAGEMENT LLC,                                                 Case No. 23-12825 (MBK)

                                    Debtor. 1



             ORDER DISMISSING THE CHAPTER 11 CASE OF LTL MANAGEMENT LLC



             The relief set forth on the following page is hereby ORDERED.




1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.


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        Debtor:              LTL Management LLC
        Case No.:            22-128125-MBK
        Caption:             Order Dismissing the Chapter 11 Case of LTL Management LLC



        This matter having come before the Court upon the Motion of Arnold & Itkin LLP, on

behalf of talc personal injury claimants represented by Arnold & Itkin LLP, seeking to dismiss

the Chapter 11 case filed by LTL Management LLC, and the Court having reviewed the Motion

and any opposition thereto, and finding good cause for the entry of the within Order;

        IT IS HEREBY ORDERED AS FOLLOWS:

           1.   The Chapter 11 case filed by LTL Management LLC, bearing case number 23-

                12825-MBK, is hereby DISMISSED.

           2.   The within Order shall be deemed served on all parties upon its ECF filing.




                                                   2
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